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                        EXHIBIT 28
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                        UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF MASSACHUSETTS


  COMMONWEALTH OF
  MASSACHUSETTS, et al.

                                                    Civil Action No. ________________
                    Plaintiffs,

             v.


  NATIONAL INSTITUTES OF HEALTH;
  MATTHEW MEMOLI, M.D., M.S., in his
  official capacity as Acting Director of the
  National Institutes of Health; U.S.
  DEPARTMENT OF HEALTH AND
  HUMAN SERVICES; and DOROTHY
  FINK, M.D., in her official capacity as
  Acting Secretary of the U.S. Department of
  Health and Human Services,

                  Defendants.

                     Declaration of James Paul Holloway

                    I, James Paul Holloway, hereby declare:

1. I am the Provost and Executive Vice President for Academic Affairs at the University of

   New Mexico, a position I have held since 2019. As Provost and Executive Vice President for

   Academic Affairs, I have oversight of academic and research affairs at the University of New

   Mexico. Prior to holding this position, I was Vice Provost for Global Engagement and

   Interdisciplinary Academic Affairs at the University of Michigan.

2. As the Provost and Executive Vice President for Academic Affairs, I have personal

   knowledge of the matters set forth below, or have knowledge of the matters based on my

   review of information and records gathered by my staff. The factual information in this

   Declaration is based upon records that are maintained in the regular course of the

   University’s business and, in particular, its research functions. It is and was the regular

                                                                                                 1
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   course of the University’s business for an employee of the University with knowledge of the

   act, event, or condition to make the record or to transmit information thereof to be included

   in such records. The record was made at or near the time of the act, event, or condition or

   reasonably soon thereafter.

3. I am providing this declaration to explain certain impacts of National Institutes of Health

   (“NIH”) Notice Number NOT-OD-25-068, Supplemental Guidance to the 2024 NIH Grants

   Policy Statement: Indirect Cost Rates, which purports to immediately reduce indirect costs

   payments to 15%.

4. The University of New Mexico is New Mexico’s flagship research university. Our broad

   research portfolio spans the fundamental sciences, technology and engineering research,

   education, humanities and social sciences, and human health. We are the only academic

   health system in the state, and pursue research on improving human health, including

   substance use disorders, cardiovascular and metabolic disease, infectious diseases and

   immunity, Alzheimer’s disease, kidney disease, cancer, and pediatrics, and more. This

   research was supported by $107 million from the NIH in Fiscal Year 2024, and we estimate

   NIH funding in Fiscal Year 2025 will be over $126 million.

5. The University of New Mexico has a Negotiated Indirect Cost Rate Agreement (“NICRA”)

   with NIH, effective as of Juy 1, 2022. The Indirect Cost (“IDC”) Rate in the University of

   New Mexico NICRA is 52.5%.

6. The University of New Mexico’s total blended IDC rate for NIH funding is 26.47%.

7. NIH’s reduction of University of New Mexico’s IDC rate[s] will eliminate approximately

   $14.5 million in funding per year that University of New Mexico uses to support its research

   programs to advance the health and economy of New Mexico. The loss of these funds will



                                                                                                   2
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   immediately impact University of New Mexico’s ability to draw critical funds used to pay

   expenses associated with facilities, administrative costs including associated salaries and

   benefits, technology and related infrastructure, and regulatory compliance costs, in support of

   research.

8. The loss of indirect costs will result in inadequate support systems for clinical trials.

9. University of New Mexico next anticipates to draw funds on or around February 26, 2025.

I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



Executed this 9th day of February, 2025, in Albuquerque, New Mexico.



                                       _______________________________

                                       James Paul Holloway

                                       Provost & Executive Vice President for Academc Affairs

                                       University of New Mexico




                                                                                                 3
